                       Case 1:21-cv-03052-SDG Document 17 Filed 07/29/21 Page 1 of 2
                                                                                                              CLOSED,STD
                                     U.S. District Court
                           DISTRICT OF ARIZONA (Phoenix Division)
                        CIVIL DOCKET FOR CASE #: 2:21−cv−00101−SPL

Strange v. SP Processing LLC et al                                         Date Filed: 01/20/2021
Assigned to: Judge Steven P Logan                                          Date Terminated: 07/29/2021
Related Case: 2:18−cv−03916−CDB (closed 08/06/2019)                        Jury Demand: Plaintiff
Cause: 47:227 Restrictions of Use of Telephone Equipment                   Nature of Suit: 485 Telephone Consumer
                                                                           Protection Act (TCPA)
                                                                           Jurisdiction: Federal Question
Plaintiff
Clinton Strange                                             represented by Clinton Strange
                                                                           7021 Winburn Dr
                                                                           Greenwood, LA 71033
                                                                           PRO SE


V.
Defendant
SP Processing LLC

Defendant
Suren Prasad


 Date Filed       #    Docket Text

 01/20/2021       Ï1   COMPLAINT filed by Clinton Strange. (Attachments: # 1 Civil Cover Sheet, # 2 Envelope)(20
                       pages)(MHW) (Entered: 01/21/2021)

 01/20/2021       Ï2   Filing fee paid, receipt number PHX225619. This case has been assigned to the Honorable Judge
                       Steven P Logan. All future pleadings or documents should bear the correct case number: CV
                       21−00101−PHX−SPL. Notice of Availability of Magistrate Judge to Exercise Jurisdiction form
                       attached. (MHW) (Entered: 01/21/2021)

 01/20/2021       Ï3   NOTICE TO SELF−REPRESENTED LITIGANT re informational documents attached: (1) Notice
                       to Self−Represented Litigant, (2) Federal Court Self−Service Clinic Flyer, (3) Fed. R. Civ. P. 5.2,
                       and (4) Notice and Request re Electronic Noticing. (MHW) (Entered: 01/21/2021)

 01/22/2021       Ï4   PRELIMINARY ORDER that a motion pursuant to Fed. R. Civ. P. 12(b) is discouraged if the
                       defect can be cured by filing an amended pleading. The parties must meet and confer prior to the
                       filing of such motion to determine whether it can be avoided. FURTHER ORDERED that
                       Plaintiff(s) serve a copy of this Order upon Defendant(s) and file a notice of service. Unless the
                       Court orders otherwise, on April 20, 2021, the Clerk of Court shall terminate without further notice
                       any Defendant in this action that has not been served pursuant to Rule 4(m) of the Federal Rules of
                       Civil Procedure See attached Order for complete details. Signed by Judge Steven P. Logan on
                       1/21/2021. (LMR) (Entered: 01/22/2021)

 02/08/2021       Ï5   REQUEST for Summonses to Issue by Plaintiff Clinton Strange. (SST) (1 page) (Entered:
                       02/10/2021)
                    Case 1:21-cv-03052-SDG Document 17 Filed 07/29/21 Page 2 of 2
02/08/2021    Ï6    SUMMONS Submitted by Clinton Strange. (Attachments: # 1 Summons) (SST) (Entered:
                    02/10/2021)

02/10/2021    Ï7    Summons Issued as to Suren Prasad, SP Processing LLC. (Attachments: # 1 Summons)(SST). ***
                    IMPORTANT: When printing the summons, select "Document and stamps" or "Document and
                    comments" for the seal to appear on the document. (Entered: 02/10/2021)

03/16/2021    Ï8    SERVICE EXECUTED filed by Clinton Strange: Affidavits of Service re: Summons, Complaint,
                    Order upon SP Processing LLC, Suren Prasad on 2/16/2021. (9 pages) (WLP) (Entered:
                    03/17/2021)

04/06/2021    Ï9    ORDER: Plaintiff must show cause in writing why this action should not be dismissed in its entirety
                    for failure to prosecute no later than April 16, 2021, unless an answer is filed within such time.
                    Plaintiff shall serve a copy of this order on Defendants. Signed by Judge Steven P. Logan on
                    4/6/2021. (LMR) (Entered: 04/06/2021)

04/16/2021   Ï 10   APPLICATION for Entry of Default by Plaintiff Clinton Strange against SP Processing LLC and
                    Suren Prasad. (5 pages) (WLP) (Entered: 04/19/2021)

04/16/2021   Ï 11   RESPONSE TO ORDER TO SHOW CAUSE re: 9 Order to Show Cause by Plaintiff Clinton
                    Strange. (8 pages) (WLP) (Entered: 04/19/2021)

04/19/2021   Ï 12   ORDER: The Court's Order 9 is satisfied and no further action will be taken by the Court at this
                    time. Signed by Judge Steven P. Logan on 4/19/2021. (LMR) (Entered: 04/19/2021)

05/18/2021   Ï 13   Clerk's ENTRY OF DEFAULT as to Suren Prasad, SP Processing LLC. (WLP) (Entered:
                    05/18/2021)

07/06/2021   Ï 14   ORDER that Plaintiff must show cause in writing, no later than July 20, 2021, why this action
                    should not be dismissed for failure to prosecute, unless an application for entry of judgment
                    pursuant to Rule 55(b) of the Federal Rules of Civil Procedure is filed within such time. Signed by
                    Judge Steven P Logan on 7/06/2021. (REK) (Entered: 07/06/2021)

07/19/2021   Ï 15   MOTION to Change Venue with Good Cause Showing by Clinton Strange. (Responsive to Court's
                    Order to Show Cause filed 7/6/21) (SJF) (Entered: 07/22/2021)

07/29/2021   Ï 16   ORDER − IT IS ORDERED that Plaintiff's Motion to Transfer Venue (Doc. 15 ) is granted. IT IS
                    FURTHER ORDERED that the Clerk of Court shall transfer this matter to the United States District
                    Court for the Northern District of Georgia and terminate this case in the District of Arizona. See
                    document for complete details. Signed by Judge Steven P Logan on 7/27/2021. (WLP) (Entered:
                    07/29/2021)
